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PETER THOMPSON
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Pro Se
               IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF MONTANA
                          BUTTE DIVISION


                                                     CV 18-75-BU-BMM-JCL
PETER THOMPSON
                         Plaintiff,
                                                 PLAINTIFF'S RESPONSE
         -vs-                                             TO
                                                   DOCUMENTS 11&12
THE CITY OF BOZEMAN, et al.,

                           Defendants.

COMES Now Plaintiff, Peter Thompson, pro se (Thompson).

      Thompson respectfully moves this honorable Court to deny Defendant

Commonwealth Land Title Insurance Company's (Commonwealth) motion (docs

11&12) to dismiss Plaintiff's first amended complaint (Doc. 9) as the amended

complaint doc. 9 (the Complaint) has been tended in good faith to secure a just,

speedy and inexpensive determination (per Fed.R.Civ.P. Rule 1) of the complex

legal matters now before this honorable court; and

      Whereas Commonwealth's motion to dismiss invites the court to procedural

error; and as Commonwealth's motion is based on legal theory that arises from a

misconstrued legal standard which is procedurally inapplicable to the matter at


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hand; and as the only procedural path for the Court to provide the results as

Commonwealth has moved the court to do, would be for the Court to respond to

the motion with a sua sponte dismissal, it is axiomatic that Commonwealth's

motion to dismiss should be denied for impropriety; and as Commonwealth's

alternative pleading is moved for without the support of a legal standard; and as

Commonwealth's alternative pleading is plainly deficient when a legal standard is

applied; and as Plaintiff's Complaint pleads special matters with the requisite

specificity of Fed.R.Civ.P. Rule 9; and as the Complaint is intended to afford the

Defendants the safeguards which are inherent in RICO's heightened pleading

standards; and as Fed.R.Civ.P. 8 is not intended to prevent a pleader from

becoming apprised of the allegations in the complaint that stand admitted; and as

Fed.R.Civ.P. 8 is not intended to place any limit on how many averments are plead;

and as Fed.R.Civ.P. 8 is not intended to strike inartistic pleadings; and as

Fed.R.Civ.P. 8 is a standard of pleading not a procedure for striking a pleading;

      Wherefore the preceding reasons (discussed in detail below) Plaintiff

Thompson moves this court to DENY Commonwealth's motion to strike the

Complaint under per Fed.R.Civ.P. 8 & 12(e); and to DENY Commonwealth's

alternative pleading for a more definite statement; and Thompson moves the court

to issue an order that Commonwealth answer the Complaint as served.

      Per_L.R._CR 47.2_(a) Commonwealth's motion, doc 11, is now ripe.



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                                     Discussion

1. Plaintiff Thompson's legal strategy is to have the facts of the matter admitted

and to then engage with opposing counsel in discussion seeking to determine the

legal premises properly applicable to the case. Fed. R. Civ. P.,

"Rule 1. Scope and Purpose
These rules govern the procedure…They should be construed, administered, and
employed by the court and the parties to secure the just, speedy, and inexpensive
determination of every action"

      The heightened pleading standards in the immediate matter requires complex

details of actions showing a nexus amongst 50 or so defendants and the pleading

also provides grounds to open discovery of more than a half dozen lawyers

communications with their clients. The result of meeting this heightened pleading

standard is that the resulting Complaint can be misconstrued as a "prolix story like

narrative" vs rule 8 notice pleadings.

      One heightened pleading standard which the Complaint is intended to satisfy

is "to safeguard defendants against spurious charges of immoral and fraudulent

behavior"

Poling v. K. Hovnanian Enterprises, 99 F. Supp. 2d 502 - Dist. Court, D. New
Jersey 2000:

"To plead mail or wire fraud with sufficient particularity, plaintiffs must "plead
with particularity the `circumstances' of the alleged fraud in order to place the
defendants on notice of the precise misconduct with which they are charged, and to
safeguard defendants against spurious charges of immoral and fraudulent
behavior.". Emphasis Added.



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Martinez v. CORNELL CORRECTIONS OF TEXAS, INC., Dist. Court, D. New
Mexico 2005:

"Rule 8(d)'s purpose is to "apprise the plaintiff of the allegations in the complaint
that stand admitted and will not be in issue at trial and those that are contested and
will require proof to be established to enable plaintiff to prevail.".

       The combination of the purpose of Rule 8(d) and heightened pleadings

standards combine to cause Thompson to draft such a specific complaint that

Defendants of the Complaint are confronted with admitting sufficient facts via

their answers for Thompson to move for judgement on the pleadings regarding

aspects of RICO and other allegations. This is the functional intent of rule 9, so

that Defendants do "not just deny that they have done anything wrong" as they

would with less particular notice pleadings.

       This level of particular pleading, as called for via the rules of civil procedure

and Plaintiff's overarching legal strategy are directly in line with the scope and

purpose of Fed. R. Civ. P., Rule 1. It follows that any resulting contentions

regarding inconsistency with hyper technical rules or others calling for less than

particular notice of factual allegations should be resolved in conformance to the

tenants of Rule 1 so that the defendants do " not just deny that they have done

anything wrong", see the bottom of Wilkins v. Bank of America below at top of

page ten. McHenry v. Renne, 84 F.3d 1172 (9th Cir. 1996): "We held in McCalden

that a plaintiff "is not required to state the statutory or constitutional basis for his

claim, only the facts underlying it." Id. at 1223.".


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Watison v. Carter, 668 F.3d 1108 (9th Cir. 2012):

"We "construe [a pro se plaintiff's] pleadings liberally and ... afford the petitioner
the benefit of any doubt." Hebbe v. Pliler, 627 F.3d 338, 342 (9th Cir.2010)
(internal quotation marks omitted).".

US v. Martin, 278 F. 3d 988 - Court of Appeals, 9th Circuit 2002;

The attorney-client privilege only protects communications between a client and a
lawyer for the purpose of obtaining legal advice.
- in AMERICAN CIVIL LIBERTIES UNION OF NORTHERN CALIFORNIA v.
Department of Justice, 2015 and 15 similar citations.


      Commonwealth's motion to dismiss invites the court to procedural error

2. Via doc.11 Commonwealth "moves pursuant to Fed. R. Civ. P. 8(a) and 12(e) to

dismiss Plaintiff pro se Peter Thompson’s… First Amended Complaint (Doc.

9)…for violating the “short and plain” pleading standard".

      Commonwealth invites the court to error under the heading "Legal

Standard" (doc 12 page 4). Commonwealth advises the court that " Under Rule

12(e), a court is authorized “to strike a pleading or make such other order as it

deems just” if the complaint is so vague or ambiguous in nature that a party

“cannot reasonably be required to frame a responsive pleading.” McHenry, 84 F.3d

at 1177. Dismissal of a complaint pursuant to Rule 8 is reviewed for an abuse of

discretion. Id.". What Commonwealth has left out is that this authorization to

strike a pleading is for sua sponte actions of the court under rule 8 and that such

authorization does not procedurally extend to motions of the litigants. The litigants




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motions to dismiss are administered under rule 12 and its various subsections

under a different standard of review than sua sponte actions of the court. 12(b)(6)

motions are reviewed de novo, see . Whittlestone at pages 13 and 14 below.

      Commonwealth's motioning per rule 8 while avoiding compliance with the

procedures of 12 (e) infers Commonwealth's intention is to cause the court to act

sua sponte; and thereby Commonwealth may avoid complying with the full

requisites of a 12(e) motion and the high thresholds of the applicable legal

standards by misleading the court regarding the pleading standards that are

appropriate to the Complaint at hand. Per the advisory committee regarding duty

of candor under rule 3.3, "A lawyer’s knowledge…can be inferred from the

circumstances". Further, a lawyer "must not allow the tribunal to be misled by

false statements of law or fact…that the lawyer knows to be false…Legal argument

based on a knowingly false representation of law constitutes dishonesty toward the

tribunal…."

3. Commonwealth invites the court to error and strike Thompson's pleading

"pursuant to Fed. R. Civ. P. 8(a) and 12(e)", because the procedural requisites for

any court to strike any Complaint under a litigants Rule 12 (e) motion have not

occurred.

      For Commonwealth to obtain dismissal as motioned for via doc 11,

Fed.R.Civ.P 12 (e) requires that Commonwealth first move for and then prevail on



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a motion for a more definite statement of "the details desired" by Commonwealth;

and then the court will issue instructions based on "the details desired" within the

opening motion; and then the nonmoving party must fail to comply with the court's

exacting instructions on how to provide "the details desired" within the complaint

before the court is authorized to strike a pleading as Commonwealth has moved the

court to do via doc 11. When read from its four corners, McHenry evidences the

basic procedure as Thompson describes above. Full copy of McHenry is attached

as AppendixThree_pgs._24-34.

      The appellate court summed up their affirmation of the McHenry procedures

as "…though a complaint is not defective for failure to designate the statute or

other provision of law violated, the judge may in his discretion, in response to a

motion for more definite statement under Federal Rule of Civil Procedure 12(e),

require such detail as may be appropriate in the particular case, and may dismiss

the complaint if his order is violated. Fed.R.Civ.P. 41(b)." In the immediate case,

Commonwealth has not in fact opened with a motion for a more definitive

statement.

      Full copy of Fed. R. Civ. P. 12(e) and a standard of review is attached as

AppendixOne_pgs._20-21.




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 Commonwealth's motion is based on legal theory that arises from a misconstrued

      legal standard which is procedurally inapplicable to the matter at hand



4. On page 5 of doc 12, Commonwealth argues, " In McHenry, supra, the Ninth

Circuit dealt with a strikingly analogous situation to the case at bar."

      Commonwealth's legal theory that McHenry is actionably analogous with

the immediate complaint has no reasonable chance of success because the theory is

contrary to the realities of the circumstances compared; (a lawyer "must not allow

the tribunal to be misled by false statements of law or fact) Thompson believes that

this principle applies to both "arguments" and in advising the court with

incomplete or inapplicable "legal standards".



      McHenry was a represented litigant, Thompson is pro se. McHenry's

pleading standards were minimal, Thompson's are highly particular involving

dozens more defendants than McHenry. McHenry's complaint arises from

McHenry giving out free food and political literature in parks and the local

government shutting him down. Thompson's complaint arises from years of

complex insider real-estate deals, a complex multi phased construction loan, a real-

estate transaction that involved fraudulent concealment, forged articles of

incorporation that involved fraudulent concealment, multiple falsely sworn



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statements of complaint, and a range of other allegations that are part of a bona

fide RICO statute claim that is pro se plead.

      That Commonwealth's motion blinks with both eyes and avoids discussion

of any particular pleading requirements that might be applicable in the immediate

matter infers the improper purpose of docs 11 and 12.

McHenry:

"According to the complaint, plaintiff McHenry made it a practice to give out free
food and political literature in city parks….

Plaintiffs initial complaint was thirty-five pages and alleged various causes of
action under 42 U.S.C. § 1983…."

      McHenry's lawyer could have listed the defendant's names and with a page

or two more had a viable complaint because the pleading standard of his 1983

action fit with notice pleading standards. Clearly McHenry's purpose was not

about making a viable complaint. It follows that McHenry is an inappropriate

comparison for our Complaint because Thompson's purpose is to file a viable

complaint for trial in Butte. The following pleading standard is on par with the

level that the McHenry complaint needed to fulfill. Galbraith v. County of Santa

Clara, 307 F. 3d 1119 - Court of Appeals, 9th Circuit 2002: Cited in Whitaker v.

Garcetti, 2007 and 29 similar citations, as:

"In this circuit, a claim of municipal liability under [§ ] 1983 is sufficient to
withstand a motion to dismiss even if the claim is based on nothing more than a
bare allegation that the individual officers' conduct conformed to official policy,
custom, or practice."


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      In contrast to the diminutive pleading standard above, our Complaint is

governed by the following legal standards:


While substantive right to recover on a claim is governed by state law, form or
mode of claim for relief is a matter of application of these rules under which no
technical forms of pleadings are required. Blazer v. Black, C.A.10 (Kan.) 1952,
196 F.2d 139.


Gillibeau v. City of Richmond, 417 F.2d 426 (9th Cir. 1969):

"Suit may be brought against private citizens under section 1983 if a conspiracy is
established between them and the state or local officials who clearly acted under
color of state law. See Hoffman v. Halden, 268 F.2d 280, 298 (9th Cir. 1959). All of
the elements of such a conspiracy must be set out plainly in the complaint. Id. at
294-296.".


Wilkins v. Bank of America, NA, No. 2: 15-cv-02341-KJM-EFB (E.D. Cal. Aug.
19, 2016):

"B. Rule 9(b)

Rule 9(b) of the Federal Rules of Civil Procedure requires that "[i]n alleging fraud
or mistake, a party must state with particularity the circumstances constituting
fraud or mistake." Fed. R. Civ. P. 9(b). A court may dismiss a claim grounded in
fraud when its allegations fail to satisfy Rule 9(b)'s heightened pleading
requirements….The plaintiff must include "the who, what, when, where, and how"
of the fraud. Id. at 1106 (citations omitted). "The plaintiff must set forth what is
false or misleading about a statement, and why it is false." Decker v. GlenFed, Inc.,
42 F.3d 1541, 1548 (9th Cir. 1994). A claim for fraud must be "specific enough to
give defendants notice of the particular conduct which is alleged to constitute the
fraud charged so that they can defend against the charge and not just deny that
they have done anything wrong." Semegen v. Weidner, 780 F.2d 727, 731 (9th Cir.
1985)." Emphasis Added.

Poling v. K. Hovnanian Enterprises, 99 F. Supp. 2d 502 - Dist. Court, D. New
Jersey 2000:


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"To plead mail or wire fraud with sufficient particularity, plaintiffs must "plead
with particularity the `circumstances' of the alleged fraud in order to place the
defendants on notice of the precise misconduct with which they are charged, and to
safeguard defendants against spurious charges of immoral and fraudulent
behavior."

      The foregoing represent extreme circumstances of pleading that are

compounded by 50 or so defendants being involved, all of which must be taken

into consideration as the pleader is pro se. Terrell v. Brewer, 935 F. 2d 1015 -

Court of Appeals, 9th Circuit 1991, cited - in Overturf v. Brewer, 2011 and 501

similar citations, as follows: "A finding of exceptional circumstances requires an

evaluation of both `the likelihood of success on the merits [and] the ability of the

[plaintiff] to articulate his claims pro se in light of the complexity of the legal

issues involved.'" It is axiomatic that Commonwealth misleads the court by

providing McHenry as the standard of review to adjudicate Commonwealth's doc

11 motion.


5. If for the sake of argument we look past Commonwealth's error in providing an

inapplicable legal standard and the error in moving to directly strike under 12(e);

we can regard their motion as a motion to strike for failure to comply with rule 8.

In so doing this court may be guided by other decisions of similar circumstances.

      However, the result is the same, in that Commonwealth's motion has no

reasonable chance of success because it does not comport with applicable legal

procedures that would allow a court to grant a motion to strike in the manner that


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Commonwealth has moved this court.

      Essentially Commonwealth alleges that the Complaint is improper by

alleging that the complaint is strike-able per their motion under rule 8.

      The court in AMENTLER spoke to an analogous motion to dismiss for

failure to comply Fed. R. Civ. P. 8(a) by applying rule 12 (f) because the moving

party motioned for dismissal for failure to comply with Rule 8. The AMENTLER

court's logic is most succinctly explained in their footnote [1] as follows:


" [1]….Rules 7 and 8 do not provide for the striking pleadings or portions thereof;
rather Rule 12(f) governs such a motion upon a showing that a pleading is
somehow improper, and the Court is guided herein by that Rule."

       The body of the AMENTLER order is relevant and has been cited speaking

to rule 8 as follows "the Court further noting that this rule "is not designed to strike

inartistic pleadings or to provide a more definite statement". Yet this is what

Commonwealth moves this court to do with rule 8. Commonwealth's Doc 12 as

follows:




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      Additionally, the body of the AMENTLER order speaks to Plaintiff's effort in

the immediate matter to get the facts admitted in a just and speedy manner. The

following starts about 13 lines up from the bottom of the last sentence of the order:

"the Azza Court, though surely frustrated with…counsel, did not consider Rule 8's
provision that "[a]n allegation ... is admitted if a responsive pleading is required
and the allegation is not denied,"…( FED.R.CIV.P 8(b)(6)(West 2008));"

      The court in AMENTLER ultimately determined the remedy sought under

rule 12 (f) was too "drastic" under the circumstances, because none of the filings

were clearly insufficient. See AppendixTwo_pgs._21-23 for a full copy of the

AMENTLER order. The order includes a 62 or so line sentence, thus evidencing

that long sentences and impliedly long sums of factual allegations are acceptable

norms, provided they are not unintelligible in their parts. It follows that this is why

12(e) pleaders need to specify "the details desired" when they make a motion.

      In Whittlestone below, the 9th Circuit analyzes the use of rule 12 (f) as a

means to strike all or some of a pleading in similar fashion as was motioned for

under rule 8 in AMENTLER above.

Whittlestone, Inc. v. Handi-Craft Co., 618 F. 3d 970 - Court of Appeals, 9th Circuit

2010:…."the issue presented here is not whether the district court properly struck

the matter under Rule 12(f), but whether Rule 12(f) authorizes the district court to

strike such matter at all. The panel reviews this purely legal issue de novo………




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      Thus, if a party may seek dismissal of a pleading under Rule 12(f), the

district court's action would be subject to a different standard of review than if the

district court had adjudicated the same substantive action under Rule 12(b)(6).

Applying different standards of review, when the district court's underlying action

is the same, does not make sense." Emphasis added.

      Per above the 9th circuit effectively stating that a motion to strike at our

particular stage of the proceedings is most appropriately brought under Rule

12(b)(6). The 10th circuit similarly determines "the only permissible attack on the

pleadings" is a Rule 12(b)(6) motion as follows:

Blazer v. Black, 196 F.2d 139 (10th Cir. 1952):

"The appellant was at liberty to state as many separate claims as he wished
"regardless of consistency", whether based upon legal or equitable grounds or both.
Rule 8(e) (2)…And, since jurisdiction was unquestioned, the only permissible
attack on the pleadings was a motion to dismiss for "failure to state a claim upon
which relief can be granted". Rule 12(b) (6)." Emphasis added.


      Commonwealth has motioned to dismiss the Complaint for violation of rule

8 but they have not done so under Rule 12(b)(6) or 12(f) nor has Commonwealth

provided any basis for balancing rule 8 with the wide range of specific pleading

requirements that apply to the Complaint. It follows that their motion to dismiss

should be denied.




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the only procedural path for the Court to provide the results as Commonwealth has

moved the court to do, would be for the Court to respond to the motion with a sua

sponte dismissal, it is axiomatic that Commonwealth's motion to dismiss should be

                                denied for impropriety

6. It is well settled that a court acting of its own volition may directly strike a

pleading for violation of rule 8. Per ¶5 above, it is equally well settled that "Rules

7 and 8 do not provide for the striking pleadings or portions thereof " under a

litigants motion, see AMENTLER above. DE-AMOR v. SEABRIGHT, Dist. Court,

D. Hawaii 2015:

"Additionally, the court may dismiss a complaint for failure to comply with Rule 8
of the Federal Rules of Civil Procedure. See Hearns v. San Bernardino Police
Dep't, 530 F.3d 1124, 1131 (9th Cir. 2008). Rule 8 requires…each allegation "be
simple, concise, and direct." Fed. R. Civ. P. 8(a)(2), (d)(1). A complaint that is so
confusing that its "`true substance, if any, is well disguised'" may be dismissed sua
sponte for failure to satisfy Rule 8. …..Because Plaintiff is appearing pro se in this
action, the Court liberally construes the pleadings. See Bernhardt v. L.A. Cnty.,
339 F.3d 920, 925 (9th Cir. 2003).".

Gillibeau v. City of Richmond, 417 F.2d 426 (9th Cir. 1969).

See Corcoran v. Yorty, 347 F.2d 222 (9th Cir. 1965); Agnew v. Moody, 330 F.2d
868, 870-871 (9th Cir. 1964). But, as exemplified by Corcoran and Agnew, a
dismissal for a violation under Rule 8(a) (2), is usually confined to instances in
which the complaint is so "verbose, confused and redundant that its true substance,
if any, is well disguised." Corcoran, 347 F.2d at 223.




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      Whereas it is axiomatic that a litigant should not motion for sua sponte

dismissal and as it is similarly evident that the true substance of the Complaint is

not disguised from the Defendants;

      Wherefore, Commonwealth's motion to dismiss the complaint should be

denied.



Commonwealth's alternative pleading is plainly deficient when a legal standard is

                                       applied

7. Commonwealth did not provide a full standard of review for their alternative

pleading, nor did they provide full text of the rule they were basing their motion

on, see Thompson's AppendixOne_pgs._20-21 for full text of rule 12(e) and a legal

standard. Fed.R.Civ.P. Rule 12 (e) "Motion for a More Definite Statement….The

motion must point out the defects complained of and the details desired."

      Commonwealth's motion fails to meet its burden of stating "the details

desired". It follows that Commonwealth's alternative motion should be denied.

      The court in Gillibeau below was faced with somewhat similar

circumstances and denied the moving parties motion, doing so in a similar manner

as Thompson now moves this court to do with Commonwealth's motion.

      A difference between Gillibeau and the immediate case is that the moving

party in Gillibeau sought more explicit details of factual allegations and in the



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immediate case Commonwealth essentially motions for less explicit factual

allegations. These circumstances infer that Commonwealth deliberately chose not

meet their burden of stating the "details desired" because Commonwealth's goal is

to escape from answering the specific factual allegations of Thompson's pleadings

so that Commonwealth can "just deny that they have done anything wrong".

Gillibeau v. City of Richmond, 417 F.2d 426 (9th Cir. 1969)…"We wish it to be

understood that defendants… may be entitled to more explicit factual

allegations….Up to now, however, these defendants have not proceeded in an

effective manner to obtain such relief. While they have filed motions for a more

definite statement…. not once have they complied with the requirement of Rule

12(e), Federal Rules of Civil Procedure, that the motion shall point out "the details

desired.""

8. " dismissal for a violation under Rule 8(a) (2), is usually confined to instances

in which the complaint is so "verbose, confused and redundant that its true

substance, if any, is well disguised.".

      Commonwealth evidences their comprehension of the substance of the

complaint on page 6 of Doc 12 as "It appears nearly every purported cause of

action, despite some causes of action being captioned against only some

Defendants, alleges some sort of conspiracy or aiding and abetting against all




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             Appendix One: Rule 12 (e) and Legal Standard for 12 (e)

Fed.R.Civ.P. Rule 12:

"(e) Motion for a More Definite Statement. A party may move for a more definite
statement of a pleading to which a responsive pleading is allowed but which is so
vague or ambiguous that the party cannot reasonably prepare a response. The
motion must be made before filing a responsive pleading and must point out the
defects complained of and the details desired. If the court orders a more definite
statement and the order is not obeyed within 14 days after notice of the order or
within the time the court sets, the court may strike the pleading or issue any other
appropriate order.".



LODI MEMORIAL HOSPITAL ASSOCIATION v. TIGER LINES, LLC, No. 2: 15-

cv-00319-MCE-KJN (E.D. Cal. May 12, 2016:


"STANDARD

A motion for more definite statement pursuant to Rule 12(e) attacks "the
unintelligibility of the complaint, not simply the mere lack of detail. . . ." Neveau v.
City of Fresno, 392 F. Supp. 2d 1159, 1169 (E.D. Cal. 2005). Courts will deny the
motion if the complaint is specific enough to give notice to the defendants of the
substance of the claim asserted. Id. A Rule 12(e) motion should be granted only if
the complaint is "so vague or ambiguous that the opposing party cannot respond,
even with a simple denial, in good faith or without prejudice to himself." Cellars v.
Pac. Coast Packaging, Inc., 189 F.R.D. 575, 578 (N.D. Cal. 1999); see also
Bautista v. L.A. Cnty., 216 F.3d 837, 843 n. 1 (9th Cir. 2000) (Reinhardt, J.,
concurring) (party can move for more definite statement on those rare occasions
where a complaint is so vague or ambiguous that party cannot reasonably frame a
responsive pleading).

"Rule 12(e) is designed to strike an unintelligibility rather than want of detail. . . .
A motion for a more definite statement should not be used to test an opponent's
case by requiring him to allege certain facts or retreat from his allegations." Neveu,
392 F. Supp. 2d at 1169 (quoting Palm Springs Med. Clinic, Inc. v. Desert Hosp.,
628 F. Supp. 454, 464-65 (C.D. Cal. 1986). If the facts sought by a motion for a



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more definite statement are obtainable by discovery, the motion should be denied.
See McHenry v. Renne, 84 F.3d 1172, 1176 (9th Cir. 1996); Neveau, 392 F. Supp.
2d at 1169-70; Sagan v. Apple Computer, 874 F. Supp. 1072, 1077 (C.D. Cal.
1994). "This liberal standard of pleading is consistent with [Rule] 8(a)(2) which
allows pleadings that contain a `short and plain statement of the claim.' Both rules
assume that the parties will familiarize themselves with the claims and ultimate
facts through the discovery process." Neveu, 392 F. Supp. 2d at 1169 (citing
Sagan, 874 F. Supp. at 1077 ("Motions for a more definite statement are viewed
with disfavor and are rarely granted because of the minimal pleading requirements
of the Federal Rules.")).".



                        Appendix Two: AMENTLER order



AMENTLER v. 69 MAIN STREET, LLC, Civil Action No. 08-0351 (FLW) (D.N.Y.
Sept. 2, 2008).

                                       (2008)

                    EDENA AMENTLER, et al., Plaintiffs,
                                   v.
                  69 MAIN STREET, LLC, et al., Defendants.

                         Civil Action No. 08-0351 (FLW).

                  United States District Court, D. New Jersey.

                                September 2, 2008.

ORDER

TONIANNE J. BONGIOVANNI, Magistrate Judge.

This matter being opened to the Court upon Motion by Plaintiffs asserting that
"Defendants' multiple Answers with affirmative defenses ... with the sole exception
the Fox & Hound Answer ... should be stricken without prejudice" [Docket Entry
No. 20][1]; and Plaintiffs asserting that "[i]n addition to jointly filing an omnibus
answer as to the common allegations and certain counts, each defendant filed their



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own separate answer as to the common allegations and to certain other counts";
and Plaintiffs further asserting that "[a] cursory review of the separate and multiple
`answers' to the Amended Complaint filed by each of the Defendants in this case
reveals facially confusing, evasive and inconsistent `answers' which warrant being
stricken from the record in their entirety"; and Plaintiffs further asserting that the
Answers do not comport with the pleading requirements of Rule 8 ("Defendants'
Answers are both inconsistent and confused") and are violative of Rule 1
("Defendants ... [seek] to deprive this Court, the finder of fact, and Plaintiffs of a
full and fair opportunity to know and understand each Defendant's answer to the
allegations asserted"); and

Defendants having opposed the instant Motion, generally asserting that their
separate answers were properly filed within the mores of the Court; and the Court
noting that FED.R.CIV.P. 12(f) permits a court, upon motion, to strike from a
pleading an "insufficient defense or any redundant, immaterial, impertinent, or
scandalous matter"; and the Court further noting that "[b]ecause of the drastic
nature of the remedy, however, motions to strike are usually `viewed with disfavor'
and will generally `be denied unless the allegations have no possible relation to the
controversy and may cause prejudice to one of the parties, or if the allegations
confuse the issues.'"(Garlanger v. Verbeke, 223 F. Supp. 2d 596, 609 (D.N.J.
2002); see also J. & A. Realty v. City of Asbury Park, 763 F. Supp. 85, 87 (D.N.J.
1991)("Rule 12(f) motions are disfavored, especially in the absence of
prejudice")(citing Abrams v. Lightolier, Inc., 702 F. Supp. 509, 511 (D.N.J.1988)));
and the Court further noting that a motion to strike shall not be granted unless the
insufficiency of a defense is "clearly apparent" (Cipollone v. Liggett Group, Inc.,
789 F.2d 181, 188 (3d Cir.1986)); and the Court further noting that the purpose of a
motion to strike is to simplify the pleadings and save time and expense by excising
from a pleading "any redundant, immaterial, impertinent, or scandalous matter"
which will not have any possible bearing on the outcome of the litigation (see
Bristol-Myers Squibb Co. v. Ivax Co., 77 F. Supp. 2d 606, 619 (D.N.J.2000)(citing
Glenside West Corp. v. Exxon Co., U.S.A., 761 F. Supp. 1100, 1114-15
(D.N.J.1991)); and the Court further noting that the Federal Rules of Civil
Procedure provide that a party must "state in short and plain terms its defenses to
each claim asserted against it" (FED.R.CIV.P. 8(b)(1)(a)(West 2008)); and the
Court further noting that this rule "is not designed to strike inartistic pleadings or to
provide a more definite statement ..." (Tr. of Hotel Indus. Pension Fund v. Carol
Mgmt. Corp., 880 F.Supp. 1548, 1551 (S.D.Fla.1995)(citing 5 CHARLES A.
WRIGHT & ARTHUR R. MILLER, Federal Practice and Procedure § 1356 at 590-
92 (1969))); and the Court finding that none of the challenged Answers can be said
to have no possible relation to the matter; and the Court further finding that none of


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the portions thereof cause prejudice to any party, nor do any confuse the issues;
and the Court further finding that none of the answers challenged are clearly
insufficient; and the Court further finding that the affirmative defenses do not
contain any redundant, immaterial, impertinent, or scandalous matter; and the
Court further finding that Defendants' responses easily satisfy the requirement of
Rule 8; and the Court further finding that Plaintiffs rely exclusively on Azza Int'l.
Corp. v. Gas Research Inst., 204 F.R.D. 109 (N.D.Ill. 2001) for the notion that
"[u]nder FED.R.CIV.P. 7 and 8, a district court is permitted to strike multiple,
separate answers to a complaint" where "[t]he multiplicity of defendants' `answers'
makes each purported answer `substantially less informative'"; and the Court
further finding that although the Northern District of Illinios in Azza concluded that
the common counsel of three separate defendants should have filed one answer
rather than three "when one would obviously do — and, indeed, would do better"
(204 F.R.D. at 109), the Azza Court, though surely frustrated with defense counsel,
did not consider Rule 8's provision that "[a]n allegation ... is admitted if a
responsive pleading is required and the allegation is not denied," and that if "a
responsive pleading is not required, an allegation is considered denied or avoided"
( FED.R.CIV.P 8(b)(6)(West 2008)); and the Court therefore concluding, to the
extent Plaintiff seeks that It consider nonbinding precedent in making Its
determination, that Azza does not address directly the propriety of multiple
complementary answers, and whether such answers warrant their striking in the
entirety; and the Court further concluding that the "drastic" relief sought though the
instant Motion is not warranted at this time; and this matter having been considered
pursuant to FED.R.CIV.P. 78 and for good cause shown;

IT IS on this 2nd day of September, 2008,

ORDERED that Plaintiffs' Motion to Dismiss Defendants' Multiple Answers of
Plaintiffs' Amended Complaint [Docket Entry No. 20] is DENIED; and it is further

ORDERED that the Clerk of the Court terminate this Motion [Docket Entry No.
20] accordingly.

[1] The Court notes that Plaintiffs bring the instant Motion under the mistaken
assertion that "[u]nder Fed.R.Civ.P. 7 and 8, a district court is permitted to strike
multiple, separate answers to a complaint." Rules 7 and 8 do not provide for the
striking pleadings or portions thereof; rather Rule 12(f) governs such a motion
upon a showing that a pleading is somehow improper, and the Court is guided
herein by that Rule.




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                     Appendix Three: Full Copy of McHenry



McHenry v. Renne, 84 F.3d 1172 (9th Cir. 1996).

                                84 F.3d 1172 (1996)

            Keith McHENRY; Eric Warren, Plaintiffs-Appellants,
                                     v.
 Louise RENNE; John Willett; Charles Gallman; Frank Reed; Mary Burns;
   Timothy Hettrich; (Fnu) Blackwell; Edward Garcia; Mark Hernandez;
 Robert Battaglia; Robert J. Brodnik; S. Quadrelli; R. Farris, # 12212; John
 Does 1-10; Dirk Beijen; Richard Hongisto; Russell Matli # 1751 and the City
             and County of San Francisco, Defendants-Appellees.

                                   No. 94-15179.

                 United States Court of Appeals, Ninth Circuit.

                       Argued and Submitted June 14, 1995.
                             Decided May 28, 1996.

Randy Baker, Berkeley, California, for plaintiffs-appellants.

Margaret W. Baumgartner, Deputy City Attorney, San Francisco, California, for
defendants-appellees.

Before: GOODWIN, FARRIS and KLEINFELD, Circuit Judges.

KLEINFELD, Circuit Judge:

The district judge dismissed plaintiffs' complaint under Federal Rules of Civil
Procedure 8, 12, and 41 because it did not contain a short and plain statement of
their claims for relief, did not give defendants a fair opportunity to frame a
responsive pleading, and did not give the court a clear statement of claims. The
district court had given plaintiffs three opportunities to amend the complaint in
accord with the judge's instructions, but the third amended complaint restated the
prior ones without curing their deficiencies. We affirm.

FACTS



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We take the facts from plaintiffs' third amended complaint as best we can. Because
it is fifty-three pages long, and mixes allegations of relevant facts, irrelevant facts,
political argument, and legal argument in a confusing way, we cannot be sure that
we have correctly understood all the averments. If we have not, plaintiffs have only
themselves to blame.

According to the complaint, plaintiff McHenry made it a practice to give out free
food and political literature in city parks. The Mayor, City Attorney, Chief of
Police, and other public officials and police officers in San Francisco conspired to
harass McHenry with unreasonable arrests on such charges as failure to obtain the
permits required to display signs in parks or to distribute food to the public.
McHenry alleges that he was physically assaulted by, or at the direction of, various
defendants and charged with driving on a suspended license.

The City obtained a preliminary injunction in the California Superior Court
prohibiting McHenry from distributing food without the necessary health and park
permits. He alleges that the City changed its regulations in bad faith to deny him a
permit and that the City's initiation of legal proceedings charging McHenry with
contempt for violating the state injunction by distributing food without a permit
was in bad faith. The complaint also alleges that plaintiff Warren had been
protesting the police treatment of McHenry and suffered a retaliatory arrest as a
result.

Plaintiffs initial complaint was thirty-five pages and alleged various causes of
action under 42 U.S.C. § 1983. Plaintiffs did not serve this complaint, but instead
filed an amended complaint dropping Andrea McHenry as a plaintiff and adding
various defendants.

The thirty-seven page amended complaint is mostly an extended narrative of the
details of the various activities of plaintiff McHenry, and his numerous alleged
arrests. At the end of his complaint, plaintiff McHenry purports to set out two
counts, one for damages and one for declaratory and injunctive relief. McHenry's
claims are set out in a single sentence thirty lines long, alleging numerous and
different violations of rights, without any specification of which of the twenty
named defendants or John Does is liable for which of the wrongs. Another, similar,
paragraph lays out the claims on behalf of plaintiff Warren. The only specificity
given is that no punitive damages are sought from the City of San Francisco and no
damages are sought from defendant Superior Court of California. This complaint
was part of a long history of complaints against the City and County of San
Francisco and its employees, from elected officials to gardeners, claiming that each



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arrest of McHenry was part of a broad conspiracy to interfere with his
constitutional rights.

The City moved to dismiss for failure to comply with Federal Rules of Civil
Procedure 8(a) and 12(e). It moved to dismiss some of the apparent claims on the
basis of the statute of limitations, absolute and qualified immunity, collateral
estoppel, and the State Tort Claims Act.

The district judge wrote a thorough and careful order dismissing this first amended
complaint without prejudice. The court particularly noted the impossibility of
figuring out which defendants were allegedly liable for which wrongs, and noted
the obvious bars to a number of the apparent claims:

Plaintiffs have made sweeping allegations against the city and various government
employees, but the complaint frequently does not make clear connections between
specific allegations and individual defendants. Defendants charge that the vague
wording of the complaint makes it excessively difficult for individual defendants to
formulate proper defenses and subject the city and others to unnecessary discovery.
...
Plaintiffs complaint does provide specific allegations of fact to support the claim
that defendants have intentionally deprived plaintiffs of their constitutional rights.
Nevertheless, as the complaint stands now it does not properly notify individual
defendants of the allegations with which they are charged. Given the number and
diversity of named defendants and the breadth of the allegations, claims which
vaguely refer to "defendants" or "other responsible authorities" will not suffice.
Defendants' motion for a more definite statement pursuant to F.R.C.P. 12(e), is
granted, and plaintiffs are ordered to file a second amended complaint which
clearly and concisely explains which allegations are relevant to which defendants.
...
Many of the named defendants may be able to assert absolute or qualified
immunity as a defense, but unfortunately plaintiffs' complaint does not provide
enough detail for the court to determine the appropriateness of these defenses at
this time. For this reason, defendants' motion to dismiss on the immunity grounds
is denied without prejudice. Defendants may refile the motion once plaintiffs have
submitted a second amended complaint.

The court also ordered plaintiffs to show cause why defendants not served within
120 days should not be dismissed under Federal Rule of Civil Procedure 4(j).
Subsequently, the court dismissed the claims against those defendants where


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plaintiffs had not shown any substantial reasons for late service, but denied the
motions to dismiss where plaintiffs had shown good cause for the delay.

Plaintiffs then filed a second amended complaint, which contained identically
argumentative and prolix allegations, but added a section at the end in which the
conduct attributed to each defendant was outlined. The complaint was now forty-
three pages. The section naming particular defendants linked them up with parts of
the narrative, but still did not tell them of what constitutional torts they were
accused.

The court again dismissed without prejudice. The district judge wrote another
careful order, this time giving plaintiffs specific instructions on how to rewrite their
complaint so that it could be adjudicated:

In its order of October 8, 1992, this court dismissed plaintiffs first amended
complaint without prejudice because it failed to provide the individual defendants
with proper notice of the claims being asserted against them and, as such, did not
afford defendants a fair opportunity to assert immunity defenses. Plaintiffs
response to this order, the second amended complaint, largely mirrors the narrative
ramblings of the first amended complaint except that it also includes a section
entitled "Summary of Allegations Against Individual Defendants." Plaintiffs
contend that this section of their otherwise deficient complaint ameliorates any
problems which defendants may have had in formulating qualified immunity
defenses. Defendants have now moved to dismiss the second amended complaint,
reasserting the argument that the complaint is too vague to enable defendants to
frame a responsive pleading, FRCP 12(e), and alternatively submitting that all of
the individual defendants are entitled to qualified or absolute immunity from
plaintiffs' claims.
Plaintiff's complaint fails to comply with the court's directive to explain clearly
how each defendant is implicated by plaintiffs' allegations. For no apparent reason
and though they are represented by counsel, plaintiffs have consistently eschewed
the traditional pleading style which prescribes a "short and plain statement" of
basic allegations followed by an outline of each legal claim based on specific
allegations of fact. Instead, plaintiffs have re-submitted their complaint in its
original novelized form, with only their new "Summary" directed at delineating
their allegations. While plaintiffs' "Summary" does attempt to link plaintiffs' fact
allegations to specific defendants, it does nothing to inform defendants of the legal
claims being asserted. In wholly inadequate fashion, plaintiffs present their legal
claims in a mere two paragraphs in the form of an undifferentiated list near the end
of the forty-three page complaint. See Second Amended Complaint, ¶¶ 94 and 104.


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Because plaintiffs' second amended complaint still does not provide defendants
with a fair opportunity to frame a responsive pleading, defendants' motion to
dismiss pursuant to FRCP 12(e) is GRANTED. Plaintiffs shall have one last
opportunity to file a proper complaint which states clearly how each and every
defendant is alleged to have violated plaintiffs' legal rights. See Branch v. Tunnell,
937 F.2d 1382, 1386 (9th Cir.1991). In conforming with this order, plaintiffs would
be well advised to edit or eliminate their twenty-six page introduction and focus on
linking their factual allegations to actual legal claims. The purpose of the court
system is not, after all, to provide a forum for storytelling or political griping, but
to resolve legal disputes.
Unfortunately, it is impossible properly to consider defendants' immunity defenses
at this time, because immunity will attach only for specific claims. After plaintiffs
have submitted their final pleading, the court will reconsider defendants' motion to
dismiss based on immunity.

SO ORDERED.

The complaint is, as the district court said, mostly, "narrative ramblings" and
"storytelling or political griping." It is not in what the district court called "the
traditional pleading style which prescribes a short and plain statement," and it does
not provide defendants notice of what legal claims are asserted against which
defendants.

Plaintiffs did not obey the judge's instructions to file a complaint "which states
clearly how each and every defendant is alleged to have violated plaintiffs' legal
rights" and his instructions to "edit their twenty-six page introduction and focus on
linking their factual allegations to actual legal claims." Instead, they filed a fifty-
three page third amended complaint repeating the vices of the second amended
complaint. Instead of editing their twenty-six page introduction, plaintiffs
expanded it. The complaint still reads like a magazine story instead of a traditional
complaint. This time, the claims for relief designated legal theories on which the
relief was based, but the plaintiffs did not specify which defendants were liable on
which of the claims. Instead, each claim says "defendants'" conduct violated
various rights of plaintiffs, without saying which defendants.

The district court had said in its order dismissing the second amended complaint
that plaintiffs would have "one last opportunity to file a proper complaint." After
receiving the third amended complaint, the judge noted that it had been submitted
"paying little heed to the court's previous orders." The new section spelling out
what the claims are "hardly improves matters, as each of the newly delineated


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claims incorporates 122 paragraphs of confused factual allegations and then merely
makes perfunctory reference to a legal claim said to arise from these
undifferentiated facts."

The judge was concerned, however, that dismissal with prejudice based on the
plaintiff's failure to comply with prior orders "might unfairly punish plaintiffs for
their counsel's ineptitude." The judge therefore referred the case to a magistrate for
preparation of a "report which assesses the viability of plaintiffs' claims in light of
defendants' motion to dismiss."

The magistrate wrote a thirty-page report, recommending dismissal of the
complaint on the ground that plaintiffs had failed to comply with the court's order
dismissing the second amended complaint. The magistrate also reported that most,
but not all, of the claims would be dismissed, even aside from this failure to
comply with the court order because they failed to state claims upon which relief
could be granted and on other grounds. The magistrate also noted that "no attempt
is made to match up the specific factual allegations and the specific legal claims to
a specific defendant. The result is that defendants and this court are literally
guessing as to what facts support the legal claims being asserted against certain
defendants."

The court then dismissed plaintiffs' complaint with prejudice, and noted that "the
prior complaints presented long-winded tales of municipal conspiracy and police
misconduct, but failed properly to notify the individual defendants of the legal
claims they faced.... The larger part of this new complaint restates the second
amended complaint without curing any of that prior complaint's deficiencies." The
judge decided that "another order to dismiss with leave to replead would serve no
purpose but to exacerbate the cost of this action to all concerned parties," and
entered the dismissal.

ANALYSIS

We review dismissal of a complaint with prejudice for failure to comply with a
court's order to amend the complaint to comply with Rule 8 for abuse of discretion.
Nevijel v. North Coast Life Ins. Co., 651 F.2d 671, 673-74 (9th Cir.1981); Schmidt
v. Herrmann, 614 F.2d 1221, 1223-24 (9th Cir.1980). The judge in this case
dismissed the case pursuant to Federal Rule of Civil Procedure 41(b) for violation
of a court order. The court order was pursuant to Federal Rule of Civil Procedure
8(e)(1), requiring that "each averment of a pleading shall be simple, concise, and
direct." It was also pursuant to Rule 12(e), authorizing the court to strike a pleading



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or make such other order as it deems just, if a complaint "is so vague or ambiguous
that a party cannot reasonably be required to frame a responsive pleading," and the
judge has already issued an order for a more definite statement which order was
not complied with. The district judge's evaluation of whether the plaintiff complied
with his order "is entitled to considerable weight." Von Poppenheim v. Portland
Boxing & Wrestling Comm'n, 442 F.2d 1047, 1051 (9th Cir.1971).

The Federal Rules require that averments "be simple, concise, and direct." The
drafters of the rules anticipated that some lawyers and judges, particularly in code
pleading states with different rules, might not understand just what was meant.
Accordingly, Federal Rule of Civil Procedure 84 provided for an official Appendix
of Forms "intended to indicate the simplicity and brevity of statement which the
rules contemplate." The complaints in the official Appendix of Forms are
dramatically short and plain. For example, the standard negligence complaint
consists of three short paragraphs:

1. Allegation of jurisdiction.
2. On June 1, 1936, in a public highway called Boylston Street in Boston,
Massachusetts, defendant negligently drove a motor vehicle against plaintiff, who
was then crossing said highway.
3. As a result plaintiff was thrown down and had his leg broken, and was otherwise
injured, was prevented from transacting his business, suffered great pain of body
and mind, and incurred expenses for medical attention and hospitalization in the
sum of one thousand dollars.
Wherefore plaintiff demands judgment against defendant in the sum of ____
dollars and costs.

Fed.R.Civ.P. Form 9. This complaint fully sets forth who is being sued, for what
relief, and on what theory, with enough detail to guide discovery. It can be read in
seconds and answered in minutes.

By contrast, the complaint in the case at bar is argumentative, prolix, replete with
redundancy, and largely irrelevant. It consists largely of immaterial background
information. For example, the complaint explains that plaintiff McHenry
cofounded his political organization in Cambridge, Massachusetts in 1980, which
is irrelevant. It explains that McHenry's organization adheres to "the principles of
non-violence developed by Gandhi and King," also irrelevant. It tells what brand of
motorbikes the police officers who arrested people rode, and points out that a
journalist was injured by a police officer at one of the mass arrests at Food Not



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Bombs distributions. It describes in detail settlement negotiations which Food Not
Bombs had at various times and in various other law suits, telling what a United
States district judge told the City he was considering in a settlement conference in
another lawsuit. It accuses persons other than the defendants of having "falsely told
members of the press" about an injunction. The complaint says, and illustrates with
a dramatic illustration of the mayor rising from his desk chair, that Mayor Agnos
seemed quite angry when he met with McHenry.

None of this material has any resemblance to the sample pleadings in the official
Appendix of Forms. Rather than set out the basis for a lawsuit, the pleading seems
designed to provide quotations for newspaper stories. Despite all the pages,
requiring a great deal of time for perusal, one cannot determine from the complaint
who is being sued, for what relief, and on what theory, with enough detail to guide
discovery.

Plaintiffs urge that heightened standards of pleading applicable to some of their
constitutional tort claims required the kind of pleading they filed. We assume
without deciding that the claims plaintiffs sought to plead were subject to a
heightened pleading standard. Compare Leatherman v. Tarrant County Narcotics
Unit, 507 U.S. 163, 113 S.Ct. 1160, 122 L.Ed.2d 517 (1993) (rejecting a
heightened pleading standard in civil rights cases alleging municipal liability as
inconsistent with a liberal system of notice pleading); with Branch v. Tunnell, 937
F.2d 1382, 1387 (9th Cir.1991) (adopting a heightened pleading standard in cases
where subjective intent is an element of a constitutional tort action); Branch v.
Tunnell, 14 F.3d 449, 455-57 (9th Cir.1994).

A heightened pleading standard is not an invitation to disregard's Rule 8's
requirement of simplicity, directness, and clarity. The "particularity" requirement
of a heightened pleading standard, requiring "nonconclusory allegations containing
evidence of unlawful intent," as opposed to "bare allegations of improper purpose,"
has among its purposes the avoidance of unnecessary discovery. Branch, 937 F.2d
at 1386. If the pleading contains prolix evidentiary averments, largely irrelevant or
of slight relevance, rather than clear and concise averments stating which
defendants are liable to plaintiffs for which wrongs, based on the evidence, then
this purpose is defeated. Only by months or years of discovery and motions can
each defendant find out what he is being sued for. The expense and burden of such
litigation promotes settlements based on the anticipated litigation expense rather
than protecting immunity from suit. Judgment and discretion must be applied by
district judges to determine when a pleading subject to a heightened pleading
standard has violated Rule 8, but there is nothing unusual about a standard



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requiring judges to exercise judgment and discretion. We have affirmed dismissal
with prejudice for failure to obey a court order to file a short and plain statement of
the claim as required by Rule 8, even where the heightened standard of pleading
under Rule 9 applied. Schmidt v. Herrmann, 614 F.2d at 1223-24. In Schmidt, as in
the case at bar, the very prolixity of the complaint made it difficult to determine
just what circumstances were supposed to have given rise to the various causes of
action.

Dismissal with prejudice of a complaint under Rule 41(b) is a harsh remedy, so we
look to see whether the district court might have adopted less drastic alternatives.
Nevijel v. North Coast Life Insurance, 651 F.2d at 674. The district judge should
first consider less drastic alternatives, but "need not exhaust them all before finally
dismissing a case." Von Poppenheim, 442 F.2d at 1054; Nevijel, 651 F.2d at 674.
The district judge in the case at bar had used less drastic alternatives, such as
permitting plaintiffs to replead twice. He considered the less drastic alternative of
allowing plaintiffs to replead again, but decided based on plaintiffs' violation of his
previous orders that repleading would be futile.

The "harshness of a dismissal with prejudice is directly proportionate to the
likelihood that plaintiff would prevail if permitted to go forward to trial. Since
harshness is a key consideration in the district judge's exercise of discretion, it is
appropriate that he consider the strength of a plaintiff's case if such information is
available to him before determining whether dismissal with prejudice is
appropriate." Von Poppenheim, 442 F.2d at 1053 n. 4. In the case at bar, the district
judge did consider the strength of the plaintiffs' case. He determined that much of
the complaint failed to state claims on which relief could be granted, or would be
barred by statutes of limitation and immunities. We do not suggest that the referral
to the magistrate and the extensive, thorough analysis performed by the magistrate
were prerequisites for dismissal. They amounted to an especially careful approach
to determining that in this particular case, dismissal with prejudice was really not
very harsh, because if the complaint were not dismissed under Rule 8, most of it
would be dismissed anyway without ever reaching the merits.

The burden imposed by plaintiffs on defendants in related litigation was
appropriately considered by the district court. The district court noted that plaintiffs
had filed a 108 page complaint and alleged 80 causes of action in a case against the
City in state court, McHenry v. Agnos, San Francisco Superior Court Case No.
941976, and a 66 page Fourth Amended complaint in another related state case.
McHenry v. Agnos, San Francisco Superior Court Case No. 927-377. This kind of
history "supports the conclusion that the trial court's dismissal of this action was



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not an abuse of discretion," in part because "appellees herein have had to spend a
large amount of time and money defending against [appellants] poorly drafted
proceedings in this and related actions." Nevijel, 651 F.2d at 674-75.

The propriety of dismissal for failure to comply with Rule 8 does not depend on
whether the complaint is wholly without merit. The magistrate was able to identify
a few possible claims which were not, on their face, subject to being dismissed
under Rule 12(b)(6). Rule 8(e), requiring each averment of a pleading to be
"simple, concise, and direct," applies to good claims as well as bad, and is a basis
for dismissal independent of Rule 12(b)(6). See Nevijel, 651 F.2d at 673; Von
Poppenheim, 442 F.2d at 1053 n. 4.

Plaintiffs urge that the district court order governing their second amended
complaint, which they violated, was inconsistent with McCalden v. California
Library Ass'n, 955 F.2d 1214, 1223-24 (9th Cir.1990). In the order dismissing the
second amended complaint, the judge instructed the plaintiffs to "file a proper
complaint which states clearly how each and every defendant was alleged to have
violated plaintiffs' legal rights." This was a reformulation of the instruction the
judge gave when he dismissed the first amended complaint, that the plaintiffs file a
pleading "which clearly and concisely explains which allegations are relevant to
which defendants." We held in McCalden that a plaintiff "is not required to state
the statutory or constitutional basis for his claim, only the facts underlying it." Id.
at 1223.

There are two reasons why plaintiffs' argument from McCalden is wrong. First, the
defect to which the judge was alluding was failure to say which wrongs were
committed by which defendants, not failure to identify the statutes or constitutional
provisions making the conduct wrong. Second, even though a complaint is not
defective for failure to designate the statute or other provision of law violated, the
judge may in his discretion, in response to a motion for more definite statement
under Federal Rule of Civil Procedure 12(e), require such detail as may be
appropriate in the particular case, and may dismiss the complaint if his order is
violated. Fed.R.Civ.P. 41(b).

Prolix, confusing complaints such as the ones plaintiffs filed in this case impose
unfair burdens on litigants and judges. As a practical matter, the judge and
opposing counsel, in order to perform their responsibilities, cannot use a complaint
such as the one plaintiffs filed, and must prepare outlines to determine who is
being sued for what. Defendants are then put at risk that their outline differs from
the judge's, that plaintiffs will surprise them with something new at trial which



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they reasonably did not understand to be in the case at all, and that res judicata
effects of settlement or judgment will be different from what they reasonably
expected. "[T]he rights of the defendants to be free from costly and harassing
litigation must be considered." Von Poppenheim at 1054.

The judge wastes half a day in chambers preparing the "short and plain statement"
which Rule 8 obligated plaintiffs to submit. He then must manage the litigation
without knowing what claims are made against whom. This leads to discovery
disputes and lengthy trials, prejudicing litigants in other case who follow the rules,
as well as defendants in the case in which the prolix pleading is filed. "[T]he rights
of litigants awaiting their turns to have other matters resolved must be
considered...." Nevijel, 651 F.2d at 675; Von Poppenheim, 442 F.2d at 1054. While
commendable in its consideration for plaintiffs in this case, the magistrate's
thorough analysis and thirty-page report, and the judge's study of the report, took a
great deal of time away from more deserving litigants waiting in line.

Appellants also argue that various substantive bases for dismissal of some of their
claims were mistaken. We need not reach those issues, because the district court
did not abuse its discretion in dismissing the entire complaint for violation of Rule
8 and of the court's orders.

"The forms of action we have buried, but they still rule us from their graves." F.W.
Maitland, The Forms of Action At Common Law 2 (A.H. Chaytor and W.J.
Whittaker ed.1965)(1909). As Maitland explains, there are good reasons why the
forms of action still shape pleadings, though the rules no longer require pleadings
to conform to the ancient forms. Pleadings of the kind shaped by the traditional
forms enable determination of the competence of the court, the appropriate
procedures for the particular type of adjudication, the type of trial, and the
remedies available. Id. at 2-3. Something labeled a complaint but written more as a
press release, prolix in evidentiary detail, yet without simplicity, conciseness and
clarity as to whom plaintiffs are suing for what wrongs, fails to perform the
essential functions of a complaint.

AFFIRMED.




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